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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   SA MUSIC, LLC, et al.,                       No. 2:20-cv-00105-BAT
                                                  (Arlen Docket)
10                       Plaintiffs,
                                                  No. 2:20-cv-00106-BAT
11         v.                                     (Henderson Docket)
12   AMAZON.COM, INC. et al.                      No. 2:20-cv-00107-BAT
                                                  (Warren Docket)
13                       Defendants.
14
     RAY HENDERSON MUSIC CO., INC.,               JUDGMENT IN A CIVIL CASE
15

16                       Plaintiff,

17         v.

18   AMAZON.COM, INC., et al.

19                       Defendants.

20
     FOUR JAYS MUSIC COMPANY, et al.
21
                         Plaintiffs,
22
           v.
23
     AMAZON.COM, INC., et al.
24
                         Defendants.
25

26

     JUDGMENT IN A CIVIL CASE
     (Nos. 2:20-cv-00105, 00106, 00107-BAT) – 1
               Case 2:20-cv-00105-BAT Document 82 Filed 06/14/21 Page 2 of 2




 1          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury has rendered its verdict.
 2

 3    X     Decision by Court. This action came to consideration before the Court. The issues have
            been considered and a decision has been rendered.
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 5   THE COURT HAS ORDERED THAT:

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            These actions (2:20-cv-00105-BAT; 2:20-cv-00106-BAT; 2:20-cv-00107-BAT) are
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     dismissed with prejudice as to all claims, causes of action, and parties, with each party bearing
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     that party’s own attorney’s fees and costs.
 9
            Dated this 14th day of June, 2021.
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11                                                         WILLIAM M. MCCOOL
12                                                         Clerk of Court
                                                           s/ A. Quach
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                                                           Deputy Clerk
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     JUDGMENT IN A CIVIL CASE
     (Nos. 2:20-cv-00105, 00106, 00107-BAT) – 2
